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                   GOOGLE LLC
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                                                    UNITED STATES DISTRICT COURT
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                                                   NORTHERN DISTRICT OF CALIFORNIA
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                   ADTRADER, INC. et al.,                               Case No. 5:17-cv-07082 (BLF)
          12
                                      Plaintiff,                        DECLARATION OF MICHAEL G. RHODES IN
          13                                                            SUPPORT OF DEFENDANT GOOGLE LLC’S
                          v.                                            MOTION FOR ADMINISTRATIVE RELIEF TO
          14                                                            APPEAR TELEPHONICALLY FOR CASE
                   GOOGLE LLC,                                          MANAGEMENT CONFERENCE
          15
                                      Defendant.                        Hearing Date:      None Set
          16                                                            Time:              None Set
                                                                        Courtroom:         Courtroom 3, 5th Floor
          17                                                            Judge:             Hon. Beth L. Freeman
                                                                        Trial Date:        June 6, 2022
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          21              I, Michael G. Rhodes, hereby declare as follows:

          22              1.      I am an attorney admitted to practice law in the State of California and a Partner at

          23       Cooley LLP, counsel for Google LLC (“Google”). I have personal knowledge of the facts herein and

          24       if called to testify, could and would testify competently hereto.

          25              2.      I will be out of the country on August 8, 2019, on a longstanding vacation to Mexico.

          26              3.      In light of my vacation, I am unavailable to attend the Case Management Conference

          27       scheduled for August 8, 2019 in person, but am available to join by telephone. Google’s additional

          28       lead counsel, Jeffrey M. Gutkin, is available to appear for the Case Management Conference in person.
  COOLEY LLP                                                                       DECL. OF MICHAEL G. RHODES ISO GOOGLE’S
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                            MOT. FOR ADMINISTRATIVE RELIEF
                                                                                                 CASE NO. 5:17-CV-07082-BLF
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            1              I declare under penalty of perjury under the laws of the United States of America that the

            2      foregoing is true and correct.

            3              Executed on July 24, 2019, at San Francisco, California.

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            6                                                      /s/ Michael G. Rhodes
                                                                    Michael G. Rhodes
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  COOLEY LLP                                                                     DECL. OF MICHAEL G. RHODES ISO GOOGLE’S
ATTORNEYS AT LAW                                                   2.                     MOT. FOR ADMINISTRATIVE RELIEF
 SAN FRANCISCO
                                                                                               CASE NO. 5:17-CV-07082-BLF
